                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MISSOURI
                          SOUTHWESTERN DIVISION

JODELLE L. KIRK                       )
                                      )
                  Plaintiff,          )
                                      )
v.                                    )    Case No: 3:13-cv-05032-DGK
                                      )
SCHAEFFLER GROUP USA, INC., et al.,   )
                                      )
                  Defendants.         )

      DEFENDANTS’ ANNOTATED PROPOSED JURY INSTRUCTIONS AND
       OBJECTIONS TO PLAINTIFF’S PROPOSED JURY INSTRUCTIONS




      Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 1 of 34
Plaintiff’s Proposed Instruction No. __: Jurors asking questions of witnesses.


       Defendants object to Plaintiff’s proposed instruction on jurors questioning witnesses

insofar as there is no need in this case for jurors to question witnesses, making the instruction

unnecessary. As the Court knows, the time in which to try this case is already limited. To invite

jurors to conduct additional questioning of witnesses would merely cause additional delay to the

trial, unnecessarily prolonging the proceedings.




        Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 2 of 34
                                          INSTRUCTION NO.___

        I have decided to accept as proved the following facts: 1

        1.       Plaintiff Jodelle L. Kirk is a resident and citizen of the State of Missouri

        2.       Plaintiff was born on October 4, 1988.

        3.       Plaintiff resides at 3130 Woodland Drive, Silver Creek, Newton County, Missouri

64804; this same home previously was known as 513 Woodland Drive before addresses in the

neighborhood were renumbered.

        4.       Since 1987, Ms. Kirk’s mother, Janice Kirk resided in at 3130 Woodland Drive

formerly known as 513 Woodland Drive, Joplin, Newton County, Missouri, 64804 including

throughout her pregnancy with Ms. Kirk.

        5.       FAG Bearings, LLC, is the same entity as FAG Bearings Corporation.

        6.       FAG Bearings Corporation operated a manufacturing plant at 3900 Rangeline

Road, Joplin, Missouri, until at least June 6, 2005.*

        7.       Trichloroethylene (“TCE”) is a man-made volatile organic compound used as a

solvent, often for removing grease from metal parts.

        8.       TCE has a density that is greater than water, a high vapor pressure, a low affinity

for soil particles, low solubility in water, and naturally degrades at a slow rate.

        9.       FAG Bearings used a TCE vapor degreasing system in its manufacturing process

until 1983, using TCE as a solvent for removing grease from metal parts.

        10.      In April, May, and December 1991, the Missouri Department of Health

(“MDOH”) and the United States Environmental Protection Agency (“EPA”) discovered TCE

contamination in certain residential wells of Saginaw and Silver Creek Villages.

1
 Except where expressly indicated, all of these facts were stipulated to by the parties in Doc. 389. All other facts
were found by the Court in its Findings of Findings of “Undisputed Material Facts” in its January 1, 2016 Order
Granting in Part Motion for Summary Judgment (Doc. 333 at 4-7.). Those facts are indicated with an asterisk (*).



         Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 3 of 34
       11.     In August 1991, the EPA implemented a emergency removal action and provided

bottled drinking water to Silver Creek homes where TCE concentrations above the EPA’s

Maximum Contaminant Level (“MCL”) had been detected.

       12.     Plaintiff’s family received documents regarding the TCE contamination in Silver

Creek and Saginaw, including a variety of fact sheets, letters, notices, and other information

regarding the TCE contamination and subsequent remediation efforts.*

       13.     In or about November 1991, Plaintiff’s family received a fact sheet from the

MDOH regarding the laboratory test results for TCE in water samples and potential health risks

from exposure to TCE.*

       14.     Between November 13 and 15, 1991, the MDOH conducted laboratory testing of

the water supply at Plaintiff’s home and provided the results to her family.        This testing

purportedly showed there was less than one microgram per liter of TCE in the sample, a health

risk the MDOH described as “so small as to be virtually non-existent.”*

       15.     Between November 1991 and March 1992, Plaintiff’s family received several

letters, information sheets, agreements, contracts, and bills from the Village of Silver Creek

regarding the construction and implementation of the public water system, meetings to discuss

the TCE contamination, legal representation to “pursue FAG’s liability and obtain public water,”

and the results of well water testing.*

       16.     The EPA provided Plaintiff’s parents with a December 1991 letter and January

1992 fact sheet regarding the extent of TCE contamination.*

       17.     The December 1991 letter from the EPA provided notice of a public meeting on

January 6, 1992 “to answer any questions or concerns you may have about this site.” *




        Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 4 of 34
        18.      The January 1992 EPA fact sheet discussed EPA measures to limit potential risks

to residents and an upcoming EPA-led public meeting.*

        19.      Pam Stanley, a Silver Creek resident, testified that she attended meetings to

discuss the TCE contamination, and that Plaintiff’s parents also attended those meetings.*

        20.      On or about February 6, 1992, Plaintiff’s family received letters from the EPA

sharing the results of a water sample taken from their residence.*

        21.      Silver Creek began installing a public water system in 1992

        22.      Saginaw began installing a public water system in 1994.

        23.      The February 6, 1992 letters from the EPA stated that no TCE was detected in

Kirk family’s water supply.

        24.      In a mailing postmarked March 26, 1992, Plaintiff’s father received a March 23,

1992, fact sheet from the Missouri Department of Natural Resource (“MDNR”) describing the

history and extent of the TCE contamination in Silver Creek; various EPA, MDNR, and MDOH

public meetings in 1991 and 1992 to address the contamination; and “a chronology of significant

site events.”*

        25.      Plaintiff’s family also received a September 1993 EPA fact sheet regarding trust

funds available to “allow [the community] to hire an independent expert to help them interpret

technical data, understand site hazards, and become more knowledgeable about the different

technologies that are being used to clean up sites.”*

        26.      In 2002, Ms. Kirk was diagnosed with Autoimmune Hepatitis, type 1, which

requires medical attention and medication to control.

        27.      Plaintiff has never sought treatment from any psychiatrists or psychologists.*




        Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 5 of 34
        28.      None of Plaintiff’s treating physicians have diagnosed her with any mental or

emotional condition such as an anxiety disorder or depression.*

        29.      None of Plaintiff’s treating physicians attributed any of her anxiety to her

purported exposure to TCE.*

        30.      From approximately 1973 to 1982, FAG Bearings Corporation produced ball

bearings using TCE as a commercial degreaser and parts cleaner.

        31.      In 1991, the Missouri Department of Health (MDOH) discovered the TCE

contamination in certain residential wells in the village of Silver Creek.

        32.      FAG Bearings was the sole cause of the TCE contamination found in Silver Creek

and Saginaw.

        33.      FAG Bearings released TCE into the environment in a number of different ways.

        34.      FAG Bearings released approximately 12,000 to 25,000 gallons of TCE through

waste, spills, leaks, overflowing tanks, incidental use of TCE, and dumping of “still bottoms”

into the ground at FAG Bearings’ facility.

        35.      During investigations at FAG Bearings’ facility from 1991 to 1996, TCE or TCE-

related chemicals were detected in at least 36 different locations across the FAG Bearings’

facility.

        36.      FAG Bearings’ employees occasionally dumped or pumped TCE directly into the

ground. The highest levels of TCE contamination were found at or near these locations.

        37.      The “trail,” or plume, of contamination runs directly from these locations to

residential wells located south of FAG Bearings’ property.

        38.      FAG Bearings was “100%” responsible for the TCE contamination in Silver

Creek, Saginaw, and on FAG Bearings’ property.




            Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 6 of 34
       39.     FAG Bearings could not account for approximately 30,000 gallons of TCE it

purchased.

       40.     FAG Bearings’ vapor recovery system frequently and repeatedly malfunctioned,

releasing large amounts of TCE into the air over a long period of time.

       41.     FAG Bearings’ own experts and employees have opined that these vapors then

condensed and returned to the soil on FAG Bearings’ property.

       42.     [To be read only if punitives are not bifurcated] The releases of TCE on FAG

Bearings’ property were predictable and foreseeable.

       43.     [To be read only if punitives are not bifurcated] FAG Bearings knew that the

vapor recovery system malfunctioned and allowed TCE to escape regularly and repeatedly.

       44.     [To be read only if punitives are not bifurcated] As of September 30, 1998, FAG

Bearings totally refused to cooperate in investigation and remediation of the TCE contamination.

       45.     Plaintiff has alleged that she was exposed to TCE at the following specific

locations in Silver Creek or Saginaw:

                  a. Her childhood residence at 3130 (formerly 513) Woodland Drive;
                  b. The Banfield residence at 3314 Silver Creek Drive;
                  c. The Parrish residence at 3428 Woodland Drive, including a portion of
                     Thurman Creek that runs through the backyard of this residence;
                  d. The Robertson residence at 4409 Malaura Lane;
                  e. The Strella residence at 3112 Woodland Drive;
                  f. The Johnson residence at 4509 Bradley Street;
                  g. The Bickett residence at 3808 Duquesne Street, including a pond of water
                     west of the Bickett residence;
                  h. The Switzer residence at 3914 Duquesne Street;
                  i. The Horine residence at 3275 Ivy Lane;
                  j. The Sutton residence at 3611 Silver Creek Drive;
                  k. The Garwood residence at 3101 Silver Creek Drive;
                  l. The Johnson residence at 3014 Silver Creek Drive;
                  m. The Vincent residence at 4415 Hickory Lane;
                  n. The Simpson residence at 4508 Middleton;



        Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 7 of 34
                   o. Saginaw Baptist Church, at 406 Bartlett Avenue;
                   p. Christ’s Community Methodist Church, at 2700 E. 44th Street;
                   q. Shoal Creek near the Tipton Ford access point;
                   r. Waters Edge Camping and Kayaking, at 6614 Old Highway71;
                   s. Thompson Orchard and Berry Farm, Bees and Berries, at 707 Saginaw
                      Road; and
                   t. The fields near Duquesne Road.

       46.     Plaintiff’s residence was connected to the city water supply in 1992.

       47.     The groundwater at Plaintiff’s residence was tested for TCE on January 3, 1992,

and on June 1, 1995. In both cases, no TCE was detected at a level above the laboratory

detection limit of 1 microgram per liter (µg/L).

       48.     The groundwater at the Banfield Residence was tested for TCE on January 4,

1992, and TCE was detected at a level of 1.8 µg/L at that time.

       49.     The groundwater at the Parrish residence located at 3428 Woodland Drive was

tested for TCE on five occasions. On December 17, 1991, TCE was detected at a level of 21

µg/L. On January 1, 1992, TCE was detected at a level of 26 µg/L. On May 20, 1993, TCE was

detected at a level of 18 µg/L. On May 23, 1995, two water samples were tested, and TCE was

detected at levels of 24 µg/L and 21.9 µg/L.

       50.     The groundwater at the Robertson residence at 4409 Malaura Lane was tested for

TCE on December 27, 1991, and at that time, no TCE was detected at a level above the

laboratory detection limit of 1 µg/L.

       51.     The groundwater at the Strella Residence was tested for TCE on January 3, 1992,

and at that time, no TCE was detected at a level above the laboratory detection limit of 1 µg/L.

       52.     The groundwater at 4509 Bradley Street was tested for TCE on three occasions.

On November 5, 1991, no TCE was detected at a level above the laboratory detection limit of 1




        Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 8 of 34
µg/L. On January 2, 1992, TCE was detected at a level of 1 µg/L. On June 4, 1995, no TCE was

detected at a level above the laboratory detection limit of 1 µg/L.

       53.     The groundwater at the Switzer Residence was tested for TCE on two occasions,

on January 3, 1992, and on June 3, 1995. In both cases, no TCE was detected at a level above

the laboratory detection limit of 1 µg/L.

       54.     The groundwater at the Sutton Residence was tested for TCE on January 14, 1992,

and at that time, no TCE was detected at a level above the laboratory detection limit of 1 µg/L.

       55.     The groundwater at 3101 Silver Creek Drive was tested for TCE on two occasions,

on January 4, 1992 and on May 31, 1995. In both cases, no TCE was detected at a level above

the laboratory detection limit of 1 µg/L.

       56.     The groundwater at 3014 Silver Creek Drive was tested for TCE on two occasions,

on October 10, 1991 and on January 4, 1992. In both cases, no TCE was detected at a level

above the laboratory detection limit.

       57.     The groundwater at 4415 Hickory Lane was tested for TCE on two occasions, on

November 12, 1991, and December 20, 1991. In both cases, no TCE was detected at a level

above the laboratory detection limit of 1 µg/L.

       58.     The groundwater at 4508 Middleton was tested for TCE on January 3, 1992, and

at that time, no TCE was detected at a level above the laboratory detection limit of 1 µg/L.

       59.     The groundwater at Saginaw Baptist Church was tested for TCE on four

occasions. On January 15, 1992, TCE was detected at a level of 3.8 µg/L. On February 25, 1993,

TCE was detected at a level of 6.3 µg/L. On June 2, 1995, two water samples were tested, and

TCE was detected at levels of 4.2 µg/L and 3.8 µg/L.




        Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 9 of 34
       60.    [To be read only if punitives are not bifurcated] Defendant Schaeffler Group USA,

Inc. is the successor to FAG Bearings Corporation.

       You must accept these facts as proved.




SOURCE: 8th Circuit Model Civil Jury Instructions (2014), No. 2.05 (Judicial Notice)




       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 10 of 34
Plaintiff’s Proposed Instruction No. __: Judicial Notice

       Defendants object to Plaintiff’s proposed formulation of the instruction taking judicial

notice of facts already decided.

       First, certain facts listed by Plaintiff are only relevant to a determination of punitive

damages.2 Accordingly, if the Court chooses to bifurcate punitive damages, these facts should

not be included in the instructions during the liability and compensatory damages phase of trial.

       Second, to the extent these facts listed by Plaintiff are included, all other relevant facts

already accepted as proven and undisputed by this Court should likewise be included in the

interest of completeness and to streamline the trial as much as possible. These additional facts

are reflected in Defendants’ proposed instruction on judicial notice.




2
  These facts include that Schaeffler Group USA, Inc. is the successor to FAG Bearings
Corporation, that Schaeffler is liable for any liabilities FAG Bearings Corporation may have in
this case, that the release of TCE was predictable and foreseeable, that FAG Bearings knew that
the vapor recovery system malfunctioned and allowed the escape of TCE regularly and
repeatedly, and that FAG Bearings refused to cooperate in investigation and remediation.



       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 11 of 34
                                   INSTRUCTION NO.___

       In this case, Defendants are corporations. The mere fact that Defendants are corporations

does not mean they are entitled to any lesser consideration by you. All litigants are equal before

the law, and corporations, big or small, are entitled to the same fair consideration as you would

give any other individual party.




SOURCE: Sand Modern Federal Jury Instructions Civil, 72.01; Smith v. Hy-Vee, No. 07-00565-
CV-W-DW, Doc. 157 (W.D. Mo. Apr. 9, 2009).



       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 12 of 34
                                     INSTRUCTION NO.___

        On Plaintiff’s claim of personal injury based on negligence, your verdict must be for

Plaintiff if you believe:

        First, FAG Bearings was negligent (as submitted in Instruction Number ____) in its

handling, use, or disposal of TCE at the Joplin plant; and

        Second, Plaintiff’s injuries and damages were directly caused by such negligence, which,

in turn, requires proof that:

        a.      Plaintiff was exposed to TCE in an amount significant enough to cause her

                disease, AIH;

        b.      There is a demonstrable relationship between TCE exposure and human AIH (i.e.,

                exposure to TCE can cause AIH in humans);

        c.      Plaintiff has been diagnosed with AIH;

        d.      Plaintiff’s AIH is consistent with exposure to TCE; and

        e.      FAG Bearings was responsible for the substance alleged to have caused the AIH

                diagnosed in Plaintiff.




SOURCE: MAI 31.00 (7th Ed.) (modified); Elam v. Alcolac, Inc., 765 S.W.2d 42, 178 (Mo. Ct.
App. 1988); Doc. 333, Order Granting in Part Motion for Summary Judgment at 9–10 (citing
Elam and adopting elements for causation in this case)




       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 13 of 34
Plaintiff’s Proposed Instruction No. __: Strict Liability


         Defendants object to Plaintiff’s proposed instruction on her strict liability claim of

“abnormally dangerous activity” for multiple reasons.3

         First, whether a certain activity is “abnormally dangerous” is a legal question that cannot

be submitted to the jury. The commentary to the Restatement (Second) of Torts § 520 explains:

         Whether the activity is an abnormally dangerous one is to be determined by the
         court, upon consideration of all the factors listed in this Section, and the weight
         given to each that it merits upon the facts in evidence. In this it differs from
         questions of negligence. . . . The imposition of strict liability . . . involves a
         characterization of the defendant's activity or enterprise itself, and a decision as to
         whether he is free to conduct it at all without becoming subject to liability for the
         harm that ensues even though he has used all reasonable care. This calls for a
         decision of the court; and it is no part of the province of the jury to decide
         whether an industrial enterprise upon which the community's prosperity might
         depend is located in the wrong place or whether such an activity as blasting is to
         be permitted without liability in the center of a large city.

Restatement (Second) of Torts § 520 (comment l. Function of court.) (emphasis added); see also

Fletcher v. Conoco Pipe Line Co., 129 F. Supp. 2d 1255, 1259 (W.D. Mo. 2001) (concluding

“the doctrine of strict liability does not apply” to operation of petroleum pipelines “as a matter of

law”). In short, this is purely a question of law. Legal questions should not be submitted to the

jury. See Eagle Star Group, Inc. v. Marcus, 334 S.W.3d 548, 556 (Mo. App. W.D. 2010)

(“[T]he function of the jury [is] to decide fact issues; they should not be asked to pass upon

questions of law.”) (quotation omitted).4




3
  The specific basis of Plaintiff’s strict liability claim was unclear to Defendants until the meet-and-confer call with
Plaintiff’s counsel concerning the jury instructions on February 15, 2016, at which time Plaintiff’s counsel made
clear her only basis for strict liability was “abnormally dangerous activity.”
4
  To be sure, Plaintiff’s strict liability claim fails as a question of law as well. Only two activities have been found
to be abnormally dangerous in Missouri: blasting and radioactive nuclear emissions. Rychnovsky v. Cole, 119
S.W.3d 204, 211 (Mo. Ct. App. 2003).



         Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 14 of 34
        Second, Plaintiff’s proposed instruction is not directed to an activity, but instead to the

manner in which FAG Bearings engaged in an activity, thereby improperly conflating strict

liability with negligence. The activity in which FAG Bearings engaged was using a TCE vapor

degreasing system in its manufacturing process, using TCE as a solvent for removing grease

from metal parts. Plaintiff’s proposed instruction tries to recharacterize FAG Bearings’ “activity”

as “releasing trichloroethylene into the ground water.” That is not the activity, but rather, the

manner in which FAG Bearings conducted the activity. The U.S. District Court of the Eastern

District of Missouri recently rejected a very similar attempt to broaden a strict liability claim for

“abnormally dangerous activity” in Wilson Road Development Corp. v. Fronabarger Concreters,

Inc., 971 F.Supp.2d 896, 916-17 (E.D. Mo. 2013):


        Plaintiffs argue that [Defendant’s] land-disturbing activities were
        abnormally dangerous, because [Defendant] “excavated a known Superfund
        Site without installing erosion control measures, and stockpiled contaminated soil
        near a ravine ” nearby the Dumey property. . . . Plaintiffs true complaint is with
        the manner in which [Defendant] conducted its activity, and not the activity itself.
        Plaintiffs claim that [Defendant] excavated the land in such a manner that led to
        increased erosion onto their property. Plaintiffs have not shown [Defendant’s]
        excavation to be akin to activities involving blasting and nuclear emissions, where
        the risk of harm simply cannot be lessened by additional precautions and care.
        Plaintiffs' claim is one of negligence, not strict liability.
Id. (emphasis original). The same is true here as well. Plaintiff’s argument is not that the sheer

use of TCE is abnormally dangerous, but that FAG Bearings was negligent in how it used that

TCE in its operations. That is a negligence claim and it cannot be properly presented to the jury

as a strict liability claim.


        Because the question of strict liability cannot be submitted to the jury, Defendants do not

submit an instruction on strict liability.




        Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 15 of 34
                                 INSTRUCTION NO.___

       Your verdict on Plaintiff’s negligence claim must be for Defendants unless you believe

FAG Bearings was negligent, as submitted in Instruction Number _____, above.

       Your verdict must also be for Defendants unless you believe that, as a result of such

negligence, Plaintiff’s injuries and damages were caused by FAG Bearings, as submitted in

Instruction Number _______, above.




SOURCE: MAI 33.04(4) (7th Ed.) (modified); Elam v. Alcolac, Inc., 765 S.W.2d 42, 178 (Mo.
Ct. App. 1988); Doc. 333, Order Granting in Part Motion for Summary Judgment at 9–10 (citing
Elam and adopting elements for causation in this case)



       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 16 of 34
Plaintiff’s Proposed Instruction No. __: Negligence.


       Defendants object to Plaintiff’s proposed instruction on negligence for multiple reasons.

       First, Plaintiff’s proposed instruction amounts to a loaded question, improperly guiding

the jurors to her preferred outcome by front-loading the question with a list of supposedly

“already established” facts. Even if these facts had indeed all been established, there is no

conceivable reason to include them in the body of the negligence instruction except to persuade

the jury to decide in Plaintiff’s favor. See White v. Curators of Univ. of Mo., 937 S.W.2d 366,

368 (Mo. App. S.D. 1996) (A jury instruction must be “simple, brief, impartial [and] free from

argument . . . .”). But several of these supposed facts have not been established. For example,

whether FAG Bearings failed to investigate the TCE contamination or failed to warn about TCE

contamination are far from “established.” The inclusion of Plaintiff’s argumentative preamble to

the negligence instruction would be improper.

       Second, Plaintiff’s proposed negligence instruction contains an improper formulation of

the test for causation. Based on MAI 17.02 (multiple negligent acts) and 19.01 (multiple causes

of damage), Plaintiff states the test as whether Defendants’ alleged negligence “directly caused

or directly contributed to cause damage to plaintiff.” That is incorrect. First, Plaintiff has not

alleged any negligent acts other than those of Defendants caused her injury. Instead—despite

citing MAI 17.02—Plaintiff’s real basis for this instruction appears to be MAI 19.01 on the

theory that Plaintiff was uniquely susceptible to AIH. That theory does not support the “directly

contributed to cause” instruction, however. Instead, while MAI 19.01 may be proper where a

plaintiff has a preexisting condition that she argues contributed to the cause of the injury alleged

along with the conduct of the defendant, Plaintiff has failed to allege a preexisting condition or

any other contributory cause for her damages aside from Defendants' conduct. Moreover, it is




       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 17 of 34
clear under Missouri law that that "[s]usceptibility is not causation." Wailand v. Anheuser

Busch Inc., 861 S.W.2d 710, 717 (Mo. Ct. App. 1993). “A prerequisite for the use of MAI 19.01

and either of the two options available requires there to be two or more causes of damage." Id.

(emphasis added) (“Appellants assert that Wailand's preexisting arteriosclerosis condition made

him more susceptible to a stroke, constituting a cause of damage within the meaning of MAI

19.01. Such argument is without merit.”) See also Higby v. Wein, 996 S.W.2d 95, 98-99 (Mo. Ct.

App. 1999). In short, Plaintiff’s alleged susceptibility is not a basis to provide the “directly

contributed to cause” instruction to the jury and Defendant’s proposed “directly caused”

instruction is the only proper way to establish the necessary “but for” causation in this case.5




5
  Under Missouri law, “the ‘but for’ test for causation is applicable in all cases except those involving two
independent torts, either of which is sufficient in and of itself to cause the injury, i.e. the ‘two fires' cases.”
Callahan v. Cardinal Glennon Hospital, 863 S.W.2d 852, 862-63 (Mo. en banc 1993). “Two fires” cases involve
situations in which “there are two independent torts, either of which by itself would have caused the injury.” Id. at
861. Because the “but for” causation test fails to accurately test for causation in these situations, the substantial
factor test becomes the means of establishing actual causation in “two fires” cases. Id.



        Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 18 of 34
                                     INSTRUCTION NO.___

        On Plaintiff’s claim of personal injury based on negligence per se, your verdict must be

for Plaintiff if you believe:

        First, FAG Bearings violated:

        a.     The Clean Water Act, 33 U.S.C. § 1251 ([insert provision]), by [describe

               requirements to establish violation of specific provision]; or

        b.     The Resource Conservation and Recovery Act, 42 U.S.C. § 6901 (([insert

               provision]), by [describe requirements to establish violation of specific provision];

               or

        c.     The Comprehensive Environmental Response Compensation and Liability Act, 42

               U.S.C. § 9601 ([insert provision]), by [describe requirements to establish violation

               of specific provision]; or

        d.     The Missouri Hazardous Waste Management Law, Mo. Rev. State. § 260.350

               ([insert provision]), by [describe requirements to establish violation of specific

               provision].

        Second, the violation of the statute(s) directly caused Plaintiff Jodelle L. Kirk’s injuries

and damages, which, in turn, requires proof that:

        a.      Plaintiff was exposed to TCE in an amount significant enough to cause her

                disease, AIH;

        b.      There is a demonstrable relationship between TCE exposure and human AIH (i.e.,

                exposure to TCE can cause AIH in humans);

        c.      Plaintiff has been diagnosed with AIH;

        d.      Plaintiff’s AIH is consistent with exposure to TCE; and




        Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 19 of 34
      e.     FAG Bearings was responsible for the substance alleged to have caused the AIH

             diagnosed in Plaintiff.




SOURCE: MAI 31.00 (7th Ed.) (modified); Elam v. Alcolac, Inc., 765 S.W.2d 42, 178 (Mo. Ct.
App. 1988); Doc. 333, Order Granting in Part Motion for Summary Judgment at 9–10 (citing
Elam and adopting elements for causation in this case)




      Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 20 of 34
Plaintiff’s Proposed Instruction No. __: Negligence Per Se.


       Defendants object to Plaintiff’s proposed instruction on negligence per se for multiple

reasons.

       First, Plaintiff has thus far failed to specify which provisions of the four enumerated Acts

it alleges Defendants have violated. As a result, without more, it is impossible, based on

Plaintiff’s proposed instruction, to determine whether Defendants violated any particular

provision. It goes without saying, these Acts are substantial and legally complex laws and a jury

is incapable of determining whether there has been a “violation” of any of them without further

guidance as to what would constitute a violation. If, as here, “an instruction fails to advise the

jury what acts or omissions of the party would constitute liability, the instruction is a roving

commission.” Centerre Bank of Kansas City, National Association v. Angle, 976 S.W.2d 608,

617 (Mo. App. W.D.1998). Likewise, a jury instruction may also be considered a roving

commission when it is too general or where it submits a question to the jury in a broad, abstract

way without any limitation to the facts and law. Id. Such instructions are prohibited. Hepler v.

Caruthersville Supermarket Co., 102 S.W.3d 564, 568 (Mo.App. S.D. 2003) (“Prejudicial and

reversible error occurs when an instruction is proffered to a jury that gives the jury a roving

commission.”).

       “To avoid a roving commission, the court must instruct the jurors regarding the specific

conduct that renders the defendant liable.” Rinehart v. Shelter General Ins. Co., 261 S.W.3d

583, 594 (Mo.App. W.D.2008). Defendants’ proposed instruction for negligence per se includes

bracketed fields which must be populated with guiding information as to the specific provisions

alleged violated and the requirements to establish such a violation. Absent that information, this

instruction does not enable the jury to properly answer the question put to it and would be error.




       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 21 of 34
        Second, Plaintiff’s proposed instruction includes as questions for the jury whether

Plaintiff “is a member of the class of persons” that the statutes “intended to protect,” and whether

Plaintiff’s “injury is of the type” that the statutes were designed to prevent. Those questions are

matters of statutory interpretation. See King v. Morgan, 873 S.W. 2d 272, 275-79 (1994)

(determining whether plaintiff and injury were within scope of statute as matter of statutory

interpretation, including looking to “legislative intent”). As such, they are questions of law. City

of St. Joseph v. Village of Country Club, 163 S.W.3d 905, 907 (Mo. banc 2005) (“An issue of

statutory interpretation is a question of law, not fact.”); Lincoln Industrial, Inc. v. Dir. of Rev., 51

S.W.3d 462, 464 (Mo. banc 2001) (“Statutory construction is strictly a matter of law.”).

Questions of law should not be submitted to the jury. See Eagle Star Group, Inc. v. Marcus, 334

S.W.3d 548, 556 (Mo. App. W.D. 2010) (“[T]he function of the jury [is] to decide fact issues;

they should not be asked to pass upon questions of law.”)

        Third, Plaintiff’s proposed instruction repeats the same erroneous instruction on

causation discussed above. The correct standard is whether Defendants “directly caused”

Plaintiff’s injury, not whether Defendants “directly caused or directly contributed to cause”

Plaintiff’s injury.




        Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 22 of 34
                                    INSTRUCTION NO.___

       Your verdict must be for Defendants unless you believe FAG Bearings violated one of

the listed legal requirements and that the violation caused her injury, as submitted in Instruction

Number _____, above.




SOURCE: MAI 33.04(2) (7th Ed.) (modified); Elam v. Alcolac, Inc., 765 S.W.2d 42, 178 (Mo.
Ct. App. 1988); Doc. 333, Order Granting in Part Motion for Summary Judgment at 9–10 (citing
Elam and adopting elements for causation in this case)




       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 23 of 34
                                    INSTRUCTION NO.___

       If you find in favor of Plaintiff on Plaintiff’s claims of personal injury based on

negligence or negligence per se, then you must award Plaintiff such sum as you believe will

fairly and just compensate Plaintiff for any damages you believe she sustained and is reasonably

certain to sustain the future as a direct result of the occurrence mentioned in the evidence




SOURCE: MAI 4.01 (7th Ed.)




       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 24 of 34
                                 INSTRUCTION NO.___

      Your verdict must be for Defendants unless you believe Plaintiff sustained damage.




SOURCE: MAI 33.04(4) (7th Ed.) (modified)



      Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 25 of 34
Plaintiff’s Proposed Instruction No. __: Compensatory Damages.


       Defendants object to Plaintiff’s proposed instruction on compensatory damages because

it repeats the same erroneous instruction on causation discussed above. The correct standard is

whether Defendants “directly caused” Plaintiff’s injury, not whether Defendants “directly caused

or directly contributed to cause” Plaintiff’s injury.




       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 26 of 34
                                    INSTRUCTION NO.___

        [Only if instructing jury on punitive damages].

        If you believe the conduct of FAG Bearings showed complete indifference to or

conscious disregard for the safety of others, then in addition to any damages to which you may

find Plaintiff entitled under Instruction Number ____ you may award Plaintiff an additional

amount as punitive damages in such sum as you believe will serve to punish FAG Bearings and

to deter FAG Bearings and others from like conduct. While it has already been decided that

FAG Bearings acted “deliberately” in causing the contamination in the sense that its releases of

TCE were “predictable and foreseeable,” thus “expected” and “not accidental,” that does not

mean that FAG Bearings showed completed indifference to or conscious disregard for the safety

of others. Instead, that is a question that you must decide based on the evidence presented to you

in this case.




SOURCE: MAI 10.05/10.06 (7th Ed.) (modified)




        Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 27 of 34
                                      INSTRUCTION NO.___

       [Only if instructing jury on punitive damages].

       You must not award Plaintiff an additional amount as punitive damages under Instruction

Number ____ unless you believe FAG Bearings showed complete indifference to or conscious

disregard for the safety of others.




SOURCE: MAI 33.16(2)/33.16(3) (7th Ed.) (modified)




       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 28 of 34
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                              SOUTHWESTERN DIVISION

JODELLE L. KIRK                                  )
                                                 )
                      Plaintiff,                 )
                                                 )
v.                                               )       Case No: 3:13-cv-05032-DGK
                                                 )
SCHAEFFLER GROUP USA, INC., et al.,              )
                                                 )
                      Defendants.                )

                      DEFENDANTS’ PROPOSED VERDICT FORM



1. Has Plaintiff Jodelle L. Kirk proven by a preponderance of the evidence that FAG Bearings

was negligent (meaning that it failed to use the degree of care that an ordinarily careful company

would use under the same or similar circumstances) in its handling, use, or disposal of TCE at

the Joplin plant?

____Yes ____No



2. Has Plaintiff Jodelle L. Kirk proven by a preponderance of the evidence that FAG Bearings

violated a specific legal requirement, as described in instruction ____?

____Yes ____No




If you answered yes to questions 1 or 2 proceed to answer question 3. If you did not answer
yes to any of those questions, stop here, answer no further questions, and have the
presiding juror sign and date this form.




       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 29 of 34
3. Has Plaintiff Jodelle L. Kirk proven by a preponderance of the evidence that FAG Bearings

directly caused her autoimmune hepatitis, meaning that:

       a) Plaintiff Jodelle L. Kirk was exposed to TCE in an amount significant enough to

           cause her autoimmune hepatitis; and

       b) There is a demonstrable relationship between TCE exposure and human autoimmune

           hepatitis (i.e., that exposure to TCE can cause autoimmune hepatitis in humans); and

       c) Plaintiff Jodelle L. Kirk has been diagnosed with autoimmune hepatitis; and

       d) Plaintiff Jodelle L. Kirk’s autoimmune hepatitis is consistent with exposure to TCE;

           and

       e) FAG Bearings was responsible for the TCE alleged to have caused the autoimmune

           hepatitis diagnosed in Plaintiff Jodelle L. Kirk?

____Yes ____No


If you answered yes to question 3, answer question 4. If you answered no to question 4,
stop here, answer no further questions, and have the presiding juror sign and date this
form.


4. What amount of money will fairly and justly compensate Plaintiff Jodelle L. Kirk for

damages you believe she sustained and is reasonably certain to sustain in the future as a result of

her exposure to TCE?

$____________________________ (state the amount)




       ________________________________________                     ___________________
          SIGNATURE OF JURY FOREPERSON                                    DATE




       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 30 of 34
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                             SOUTHWESTERN DIVISION

JODELLE L. KIRK                                 )
                                                )
                      Plaintiff,                )
                                                )
v.                                              )      Case No: 3:13-cv-05032-DGK
                                                )
SCHAEFFLER GROUP USA, INC., et al.,             )
                                                )
                      Defendants.               )

         DEFENDANTS’ PROPOSED PUNITIVE DAMAGES VERDICT FORM

1. Has Plaintiff Jodelle L. Kirk clearly and convincingly established that Defendants’ conduct

showed complete indifference or conscious disregard for the safety of others?

____Yes ____No


If your answer to question 1 is no, stop here, answer no further questions, and have the
presiding juror sign and date this form. If you answered yes, answer question 2.


2. What amount of money do you award in punitive damages?

$____________________________ (state the amount)



       ________________________________________                   ___________________
          SIGNATURE OF JURY FOREPERSON                                  DATE




       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 31 of 34
Plaintiff’s Proposed Verdict Form


        Defendants object to Plaintiff’s proposed use of a general verdict form. This is a

complicated case in which Plaintiff has alleged three separate bases for liability (one of which—

strict liability—should not be presented to the jury at all). In the interest of clarity and

convenience for the jury, therefore, Defendants have proposed a special verdict form that is non-

argumentative and provides only modest modifications to the general verdict form. Namely, (1)

separate questions that reflect Plaintiff’s different theories of liability; (2) a separate question on

causation; and (3) a separate question whether Plaintiff has met her burden to obtain punitive

damages. Additionally, Defendants have provided a separate form on punitive damages should

the Court elect to bifurcate this case. These small modifications serve the purpose of reducing

juror confusion by identifying and organizing the issues in the case.




       Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 32 of 34
Date: February 16, 2016            Respectfully submitted,

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                                   BEARINGS, LLC




      Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 33 of 34
                              CERTIFICATE OF SERVICE

      I hereby certify that on the 16th day of February 2016, a true and accurate copy of the

foregoing document was served upon the following counsel by the Court’s CM/ECF system:


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      Case 3:13-cv-05032-DGK Document 423 Filed 02/16/16 Page 34 of 34
